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UNITED STATES BANKRUPTCY COURT
EASTERN DISTRICT OF NEW YORK
--------------------------------------------------------------X
In re:                                                            Chapter 11

99 SUTTON LLC,                                                    Case No. 21-43124 (ESS)

                                    Debtor.
--------------------------------------------------------------X

               MOTION PURSUANT TO BANKRUPTCY RULE 9019(a) AND
              SECTIONS 105(a) AND 364 OF THE BANKRUPTCY CODE FOR
                           APPROVAL OF SETTLEMENT

        99 Sutton LLC (the “Debtor”), by its counsel Morrison Tenenbaum PLLC, hereby submits

this motion (“Motion”) for an Order pursuant to Rule 9019(a) of the Federal Rules of Bankruptcy

Procedure (“Bankruptcy Rule”) and Sections 105(a) and 364 of Title 11, United States Code

(“Bankruptcy Code”) approving the terms of the various documents modifying the terms of the

debt (collectively, the “Loan Modification Documents”), related to that certain real property

located at 99 Sutton Street, Brooklyn, New York 11222 (the “Property”), which Loan Modification

Documents are annexed to this Motion. In support of this Motion, the Debtor represents as follows:

                                     JURISDICTION AND VENUE

        1.            This Court has jurisdiction over this Motion pursuant to 28 U.S.C. §§ 157 and

1334. Venue of this case and this Motion is proper pursuant to 28 U.S.C. §§ 1408 and 1409. The

subject matter of this Motion is a “core proceeding” within the purview of, without limitation, 28
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U.S.C. § 157(b)(2)(A), (B) and (D). The statutory predicate for the relief sought by the Motion is

Sections 105(a) and 364 of the Bankruptcy Code and Bankruptcy Rule 9019(a).

                                       BACKGROUND

       2.         On December 20, 2021 (the “Petition Date”), the Debtor filed a voluntary

petition for relief under Chapter 11 of the Bankruptcy Code, and thereafter, continues to operate

its business and manage its property as a debtor-in-possession pursuant to §§ 1107 and 1108 of the

Bankruptcy Code. No receiver, examiner or creditor’s committee has been appointed.

       3.         The Debtor owns the apartment building located at 99 Sutton Street, Brooklyn,

NY 11222 (the “Property”) which consists of 63 units and has a monthly rental income of

$151,795.

       4.         The Debtor’s bankruptcy filing was precipitated by a dispute between the

Debtor and the predecessor to the Sutton Lender, Customers Bank, regarding the repayment of real

property taxes advanced by Customers Bank on behalf of the Debtor.

       5.         The Debtor filed chapter 11 in order to resolve claims of all creditors in one

forum and reorganize and propose a plan to pay its creditors.

       6.         On January 27, 2022, the Court entered an order setting March 28, 2022 as

the last date for the filing of proofs of claim. Four creditors have filed claims as follows:

 Claimant                                               Claim Number         Amount

 NYS Dept of Tax & Finance                              1                    $1,569.56

 Consolidated Edison Company of New York, Inc.          2                    $4,507.45

 Internal Revenue Service                               3                    $18,362.29

 99 Sutton Lender LLC                                   4                    $20,780,703.61




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       7.          On January 27, 2022, the Debtor filed an application to use the cash collateral

of 99 Sutton Lender. The parties negotiated an agreed form of cash collateral order, and on

February 23, 2022, the Court entered a final order authorizing the use of cash collateral (the “Cash

Collateral Order”).

       8.          The Cash Collateral Order, among other things, required the Debtor to file a

plan of reorganization that provides for payment in full of the obligations to 99 Sutton Lender on

or before April 21, 2022 and that the Debtor pay the obligations in full pursuant to the plan on or

before August 1, 2022.

       9.          The Debtor filed its chapter 11 disclosure statement and plan on April 20, 2022.

       10.         Meanwhile settlement negotiations continued between the parties.

       11.         On January 18, 2022, the 99 Sutton Lender commenced an action against the

Debtor’s principal Joseph Torres on his personal guaranty in the New York State Supreme Court,

New York County by Summons and Notice of Motion for Summary Judgment in Lieu of

Complaint, in the New York State Supreme Court, Kings County (the “State Court”), under Index

No. 501674/2022 (the “Guaranty Action”).

       12.         On February 17, 2022, the Guaranty Action was removed from the State Court

to the United States District Court for the Eastern District of New York where it was designated

Case No. 1:22-cv-00884 and assigned to United States District Judge Brian M. Cogan.

       13.         On or about May 3, 2022, the parties finalized their settlement agreement which

is described further below.

                 SUMMARY OF LOAN MODIFICATION SETTLEMENT

       14.         The Debtor, 99 Sutton LLC, and Joseph Torres (“Borrower Parties”) entered

into a pre-negotiation agreement with 99 Sutton Lender LLC (“Lender”) on or about March 17



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2022 to facilitate negotiations regarding a restructuring and settlement of the existing mortgage

loan that was in default. Extensive negotiations between the parties followed, resulting in a

resolution pursuant to which the parties finalized a closing in escrow on May 6, 2022 with the title

company acting as escrow agent. The Debtor and Lender memorialized the terms and conditions

pursuant to which the escrow closing would become a final closing in accordance with the escrow

direction letter dated May 6, 2022, attached as Exhibit B (“Escrow Agreement”).

         15.       Pursuant to the Escrow Agreement, Debtor executed and delivered certain

documents related to the loan settlement, as enumerated on Exhibit C to the Escrow Agreement.

The Debtor caused the Closing Funds in the amount of $3,702,134.48 to be funded in accordance

with the Closing Statement attached to the Escrow Agreement. Those Closing Funds included,

among other things, payment of Default Rate Interest in the sum of $2,175,159.65, per diem

interest in the sum of $13,666.19 and reimbursement of a Protective Advance made by Lender in

the sum of $967,206.31.

         16.       The settlement stopped the accrual of Default Rate Interest as of May 6, 2022.

As a result of the closing of the settlement, the loan will be back in good standing. The agreed

upon new principal balance of the loan is $17,270,344.31 bearing interest at the rate of 12% per

annum.

         17.       The initial loan maturity date will be twelve (12) months from the date the

closing becomes final. Borrower also has the option to extend the maturity date for an additional

six (6) month term in accordance with Paragraph 40 of the Amended and Restated Mortgage and

Security Agreement. Pursuant to the Amended and Restated Note, Borrower shall pay on a

monthly basis $35,000.00 in principal and interest at minimum of 6% per annum, as calculated

according to the formula set forth in the Amended and Restated Note. Net income generated on a



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monthly basis by the Debtor will be swept into a third party control account to fund, in part,

monthly interest payments. The loan will continue to be secured by the personal guarantees of Mr.

Torres, and a pledge of the equity of the Debtor, UCC- 1 financing statements on the Debtor’s

other assets and other security devices as enumerated in the deliverables list (Exhibit C to

Escrow Agreement).

        18.         The Closing Conditions include the Bankruptcy Court entering an order

granting these motions.

        19.         The Loan Modification Documents are annexed hereto as follows:

              a. Exhibit A – Omnibus Amendment to Loan Documents and Reaffirmation of

                 Guaranties

              b. Exhibit B – Escrow Direction Letter

              c. Exhibit C – Amended and Restated Note

              d. Exhibit D – Amended and Restated Mortgage and Security Agreement

              e. Exhibit E – Sole Member Pledge and Security Agreement



                                       RELIEF REQUESTED

        20.         By this Motion, the Parties seek the entry of an Order approving the settlement

pursuant to sections 105(a) and 364 of the Bankruptcy Code and Bankruptcy Rule 9019(a).

        21.         The Debtor has concluded that the proposed settlement is in the best interests

of the Debtor’s estate. In reaching that conclusion, the Debtor considered, among other things, the

relative strength of the positions asserted by the Debtor and the cost, expense, and delay associated

with further litigating this matter.




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       22.         Bankruptcy Rule 9019 provides the bankruptcy court with authority to “approve

a compromise or settlement.”        Fed. R. Bankr. P. 9019(a).       “Compromises are favored in

bankruptcy” because they minimize the costs of litigation and further the parties’ interesting in

expediting administration of a bankruptcy estate. In re Martin, 91 F.3d 389, 393 (3d Cir. 1996).

       23.         In determining whether to approve a settlement, the bankruptcy court considers

all facts surrounding the controversy and the likelihood of success on the merits by the debtor as

well as the cost, complexity and timing of the litigation. Protective Committee of Independent

Stockholders of TMT Trailer Ferry, Inc. v. Anderson, 390 U.S. 414, 424 (1968); In re Drexel

Burnham, Lambert Group, Inc., 960 F.2d 285, 292 (2d Cir. 1992); In re Rosenberg, 419 B.R. 532,

536 (Bankr. E.D.N.Y. 2009). The interests of creditors in maximizing their recovery in an

important consideration. Nellis v. Shugrue, 165 B.R. 115, 122 (S.D.N.Y. 1994); In re Rosenberg,

419 B.R. at 536. Approval of a settlement under Bankruptcy Rule 9019 requires a determination

by the bankruptcy court as to whether the settlement is fair, equitable and in the best interest of the

estate. In re Drexel Burnham Lambert Group, Inc., 134 B.R. 493, 496 (Bankr. S.D.N.Y. 1991); In

re Rosenberg, 419 B.R. at 536; O’Connell v. Margolis (In re Hilsen), 404 B.R. 58, 69-70 (Bankr.

E.D.N.Y. 2009).

       24.         Specifically, in determining whether to approve a settlement, the bankruptcy

court’s responsibility is “to canvass the issues and see whether the settlement falls below the lowest

point in the range of reasonableness.” In re Drexel Burnham Lambert Group, Inc. at 497; In re

Hilsen, 404 B.R. at 70.

       25.         The factors relevant in assessing the reasonableness of a settlement are: (1) the

balance between the litigation’s possibility of success and the settlement’s future benefits; (2) the

likelihood of complex and protracted litigation, with attendant expense, inconvenience, and delay,



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including the difficulty in collecting on the judgment; (3) the interests of the creditors, including

each affected class’s relative benefits and the degree to which creditors either do not object to or

affirmatively support the proposed settlement; (4) whether other parties in interest support the

settlement; (5) the competency and experience of counsel supporting the settlement; (6) the nature

and breadth of releases to be obtained by officers and directors; and (7) the extent to which the

settlement is the product of arm’s length bargaining. In re Iridium Operating LLC, 478 F.3d 452,

462 (2d Cir. 2007); In re Rosenberg, 419 B.R. at 536-537; In re Hilsen, 404 B.R. at 71.

          26.       Applying the above factors to the facts herein, the settlement is reasonable, is

fair and equitable and in the best interests of all parties in interest.

          27.       The settlement was the result of extensive negotiations among experienced

counsel for the Parties and resolves the remaining issues needed for administration of the Debtor’s

estate.

          28.       The Debtor further submits that the settlement contained in the Motion should

also be approved since granting such relief is well within the sound discretion of the Bankruptcy

Court and is in the best interests of the Debtor’s estate.

          29.       Notice of the Motion has been given to the United States Trustee, all creditors,

and those persons requesting notice under Bankruptcy Rule 2002(i).




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       WHEREFORE, the Debtor respectfully requests that, pursuant to Bankruptcy Rule

9019(a) and Sections 105(a) and 364 of the Bankruptcy Code, this Bankruptcy Court approve the

terms of the settlement and grant such other and further relief as is just and proper.

Dated: New York, New York
       May 4, 2022
                                                      MORRISON TENENBAUM PLLC


                                                      By:     /s/ Brian J. Hufnagel
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